
97 N.Y.2d 676 (2001)
In the Matter of BROTHER T. WILLIAMS-BEY, Appellant,
v.
JONATHAN LIPPMAN, as Chief Administrative Judge of the State of New York, et al., Respondents.
Court of Appeals of the State of New York.
Submitted October 29, 2001.
Decided December 20, 2001.
On the Court's own motion, appeal, insofar as it is taken from that portion of the Appellate Division order that dismissed the CPLR article 78 proceeding, dismissed, without costs, upon the ground that no substantial constitutional question is directly involved; appeal otherwise dismissed, without costs, upon the ground that the remaining part of the Appellate Division order does not finally determine the proceeding within the meaning of the Constitution. Motion for poor person relief dismissed as academic.
Chief Judge KAYE taking no part.
